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IN THE UNITED STATES COURT OF APPEALS
FOR THE ELEVENTH CIRCUIT

MICHAEL J, POLELLE,
Plaintiff-Appellant,

Vv.

CORD BYRD, solely in his official capacity as
Florida Secretary of State,

And

RON TURNER, solely in his official capacity as
Supervisor of Elections for Sarasota County,
Defendants-Appellees.

Appeal from the United States District Court for the Middle District of Florida

No. 8:22-CV-1301-SDM-AAS

APPELLEE RON TURNER’S RESPONSE IN OPPOSITION TO
APPELLANT’S MOTION FOR LEAVE TO SUPPLEMENT THE RECORD

ON THE ISSUE OF TRADITIONAL STANDING

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APPELLEE SUPERVISOR OF ELECTIONS RON TURNER’S FRAP 26.1
DISCLOSURES

Defendant-Appellee RON TURNER in his official capacity as Supervisor of
Elections for Sarasota County (hereafter, “Supervisor”), by and through undersigned
Counsel, pursuant to Federal Rule of Civil Procedure 26.1(a), states as follows:

I. The particular Judges, Attorneys, Persons, Associations of
Persons, Firms, Partnerships or Corporations that have an interest in the
outcome of the particular case or appeal, including subsidiaries,
conglomerates, affiliates, parent corporations, and any publicly held
corporation that owns 10% or more of the party’s stock and other
identifiable legal entities related to a party are:

1. Bentley Goodrich Kison P.A.
2. Bentley, Morgan, Esq.

3. Byrd, Cord, Secretary of State
4, Chappell, David, Esq.

5. Davis, Ashley, Esq.

6. Florida Department of State
7. Gaillard, Ashley, Esq.

8. Merryday, Hon. Steven D.

9. McVay, Brad, Esq. :

10. Polelle, Michael J.
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11. Sarasota County Supervisor of Elections Office
12. Turner, Ron
13. Wallace, David, Esq.
14. Bradley R. McVay, Esq.
15. David Chappell, Esq.
16. Coalition with a Purpose Party
17. J. Damian Ortiz, Esq.
18. Libertarian Party of Florida
19. Carl A. Anderson, Esq.
II. No publicly traded company or corporation has an interest in the

outcome of this appeal.
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APPELLEE RON TURNER’S RESPONSE IN OPPOSITION TO
APPELLANT’S MOTION FOR LEAVE TO SUPPLEMENT THE RECORD
ON THE ISSUE OF TRADITIONAL STANDING

Defendant-Appellee Ron Turner, in his capacity as Supervisor of Elections for
Sarasota County (“Appellee” or “Turner”) and pursuant to Rule 27 of the Federal
Rules of Appellate Procedure, responds to Appellant Michael J. Polelle’s Motion for
Leave to Supplement the Record on the Issue of Traditional Standing (“Motion for
Leave”), and states as follows:

I. Summary

Appellant’s Motion for Leave should be denied. Appellant’s March 10, 2024
unsworn affidavit did not exist at the time of the district court proceedings.
Moreover, Appellant’s Motion for Leave was filed 11 months after the briefing in
this appeal was completed. The Appellant’s March 10, 2024 unsworn affidavit
describing his recent attempt to vote in the partisan primary election of a political
party with which he was not registered has no potential to change the outcome in
this case. The Appellant lacks standing because he is not registered with a political
party, nor is he a political party with an associational interest at stake. Neither those
factors nor the overall outcome are affected in any way by the unsurprising fact that
he was not permitted to vote in a recent election due to his lack of registration.

Il. Argument

1. Appellant’s unsworn affidavit is dated March 10, 2024.
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2. The district court decision on appeal is dated November 3, 2022.

3. The last brief filed in this appeal was filed on April 27, 2023.

4. A primary factor in deciding a motion to supplement the record
is “whether acceptance of the proffered material into the record would
establish beyond any doubt the proper resolution of the pending issues.” CSX
Transp., Inc. v. City of Garden City, 235 F.3d 1325, 1330 (11th Cir. 2000)
(internal citations omitted). Here, the Appellant’s proffered unsworn affidavit
has no bearing on the proper resolution of the traditional standing issue, or
any other issue at bar.

5. As this Court noted in the CSX decision, appellate courts rarely
exercise their authority to enlarge the appellate record. Jd. at 1330-31.

6. Unlike in CSX, where the proffered material went to the existence
or non-existence of insurance, which was pivotal to the district court’s
resolution of that case, the Appellant’s unsworn affidavit adds nothing to the
record that would change the district court’s dismissal for lack of standing.

7. The district court dismissed the Appellant’s complaint finding
that under Section 101.021, Florida Statutes, an elector registered without
party affiliation may not vote in any partisan primary election. Order, p. 1.
Appellant therefore lacked standing because his “associational ‘interest’ in

selecting the candidate of a group to which [he] does not belong|] falls far
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short of a constitutional right, if indeed it can even fairly be characterized as
an interest.” Order, p. 1-2 (quoting California Democratic Party v. Jones, 530
U.S. 567, 573 n.5 (2000)).

8. The pivotal issues for the district court in relation to traditional
standing were (1) the Appellant’s failure to register with a political party, and
(2) the Appellant’s status as an individual plaintiff (rather than a political party
with an associational right to expand and limit the persons entitled to vote in
its primary). Order, p. 2.

9. The district court did not analyze whether the Appellant had in
fact attempted to show up at a polling place and vote in a partisan primary,
nor would there be any reason to engage in this analysis. Florida law is clear
that the Appellant is not permitted to vote in a partisan primary election unless
he registers with the political party in question by the applicable deadline.

10. The Appellant now seeks to proffer, in an unsworn affidavit, the
unsurprising fact that he was turned away at a recent partisan primary election
due to his failure to register with the political party in question. That fact
makes no material difference to his lack of standing. The facts of Appellant’s
lack of party affiliation and status as an individual rather than a political party
remain unaltered and dispositive based on longstanding United States

Supreme Court precedent.
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11. Put simply, the Appellant still has no cognizable associational
interest in voting in the partisan primary election of a party with which he is
not registered, and therefore no standing. His affidavit describing his recent
attempt to vote in the partisan primary election of a party with which he is not
registered has no potential to change this outcome. Supplementation of the
record is unwarranted under these circumstances.

Based on the foregoing, Appellee Ron Tumer respectfully requests this Court
deny the Motion for Leave to Supplement the Record on the Issue of Traditional

Standing.
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing was filed
through the Court’s CM/ECF system, served via electronic service on participants in
the case registered as CM/ECF users, and served via U.S. Mail, postage prepaid, on

Michael J. Polelle, 1102 Ben Franklin Drive, Unit 511, Sarasota, FL 34236, on this

| | day of March, 2024.

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CERTIFICATE OF COMPLIANCE
This document complies with the typeface requirements of FRAP 32(a)(5)

and the type-style requirements of FRAP 32(a)(6).

i UX

JOAVID A. WALLACE, ESQ.
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Dated: March 18, 2024

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